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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                              __________________________

CITY OF GRAND RAPIDS,

         Plaintiff,                             Case No. 1:17-cv-00113

vs.                                             Hon. Paul L. Maloney

GRAND RAPIDS POLICE COMMAND
OFFICERS ASSOCIATION, MATTHEW
JANISKEE,                                       JOINT STATUS REPORT
         Defendants.

and

MATTHEW JANISKEE,

         Counter-Plaintiff,

vs.

CITY OF GRAND RAPIDS,

         Counter-Defendant,
                              _______________________________




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                                       JOINT STATUS REPORT

          A Rule 16 Scheduling Conference is scheduled for Monday, July 23, 2018 at 2:30 PM,

before Hon. Paul L. Maloney. Appearing for the parties as counsel will be:

    John H. Gretzinger (P28979)                            Andrew J. Rodenhouse (P73342)
    Scott E. Dwyer (P33131)                                Charles C. Newberg (P79025)
    Mika Meyers, PLC                                       Rodenhouse Kuipers PC
    Attorneys for City of Grand Rapids                     Attorneys for Defendant Matthew Janiskee
    900 Monroe Ave NW                                      678 Front Ave., NW, Suite 176
    Grand Rapids, Michigan 49503                           Grand Rapids, MI 49504-5300
    (616) 632-8027                                         (616) 451-4000

                                                           Timothy J. Dlugos (P57179)
                                                           White Schneider PC
                                                           Attorneys for GRPCOA
                                                           Suite 200, 1223 Turner St.
                                                           Lansing, MI 48906
                                                           (517) 349-7744

             1. Jurisdiction:

          The Court has subject matter jurisdiction in this action under 28 U.S.C. § 1331 (“federal

question” jurisdiction). This Court also has pendent jurisdiction of state court claims pursuant to

28 U.S.C. § 1367. There are no objections to this Court’s jurisdiction.

          In particular, Plaintiff/Counter-Defendant, The City of Grand Rapids (“The City of Grand

Rapids”), filed its action under the Federal Wiretapping Act, 18 U.S.C. § 2511 and under Michigan

Eavesdropping Act, M.C.L. 750.539h.

          Defendant/Counter-Plaintiff, Matthew Janiskee (“Janiskee”), filed this action under the

Federal Wiretapping Act, 18 U.S.C. § 2511, The Stored Communications Act, 18 U.S.C. § 2701,

et seq., Section 1983, 42 U.S.C. § 1983, the Michigan Eavesdropping Act, M.C.L. 750.539h,

Michigan’s Wiretapping Statute, M.C.L. 750.539c, and common law privacy laws.1



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 The City believes that Janiskee’s common law invasion of privacy claims have been previously dismissed and/or
are barred under the Governmental Immunity Act, M.C.L. 691.1407. The parties seek clarity on this issue.

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             2. Jury or Non-jury:

         This case is to be tried by the Court as a trier of law and fact.

             3. Judicial Availability:

         The parties at this time do not agree to have a United States Magistrate Judge conduct other

proceedings in this case.

             4. Statement of the Case:

             (a) The City of Grand Rapids’ case:

         This matter involves five inadvertently recorded phone calls that were discovered during

the course of the Grand Rapids Police Department’s Internal Investigation and the handling of an

accident scene by GRPD Officers Matthew Janiskee, Adam Ickes and Thomas Warwick on

November 18, 2016. The Plaintiff, the City of Grand Rapids, is seeking declaratory ruling by the

Court that the City may use and disclose these five inadvertently recorded telephone conversations.

Alternatively, the recording and use and disclosure of the calls were made in the ordinary course

of law enforcement duties Officer Janiskee, in response, alleges that the City of Grand Rapids and

violated the Federal and State Wiretapping Acts by intentionally recording and disclosing the

conversations with Officers Ickes and Warwick on telephone line (616) 456-3407. The City,

denies any violation of any statute. Further, as this matter involves only 1 person and 5 inadvertent

recorded phone calls involving that person as the other 2 parties to the recorded calls have

consented to the use and disclosure of those recorded calls, class action certification is

inappropriate.

             (b) Janiskee’s case:

         Janiskee’s case involves allegations that the City of Grand Rapids, by and through its

agents and employees, violated Federal and State Wiretapping Acts by secretly recording every



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conversation on “Non Recorded Line 3407” (“Line 3407”) for over three years. Janiskee,

employees of the Grand Rapids Police Department, and other third-parties made or received

telephone calls to or from Line 3407 multiple times each day for personal, private and sensitive

telephone conversations at all relevant times.        Line 3407 was expressly and unwaveringly

represented to Janiskee and other employees of the Grand Rapids Police Department to be a non-

recorded line, thus creating a reasonable expectation of privacy while using that line. Janiskee

asserts that Line 3407 was not recorded inadvertently and that there were one or more persons

within the City of Grand Rapids who either directed the recording of Line 3407 or were aware that

Line 3407 was being recorded.

         Janiskee’s case cites of violations of Federal and State Wiretapping Acts, violations of the

Stored Communications Act, and other violations of state and federal communication and privacy

laws on behalf of himself and those similarly situated against the City of Grand Rapids.

             (c) Grand Rapids Police Command Officer’s Case:

         See Janiskee’s case.

             5. Prospects of Settlement:

         The City of Grand Rapids has already settled with several previously-named Defendants

in this action. The City of Grand Rapids and Janiskee and the GRPCOA have engaged in

settlement discussions, although no agreeable resolution has yet been reached. There have been

no further settlement discussions.

             6. Pendent State Claims:

         This case does include pendent state claims. Janiskee alleges violations of the Michigan

Eavesdropping Act, M.C.L. 750.539h, violations of the Michigan Wiretapping Statute, M.C.L.

750.539c, and violations of common law invasion of privacy laws. The City believes that



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Janiskee’s common law invasion of privacy claims have been previously dismissed and/or are

barred under the Governmental Immunity Act, M.C.L. 691.1407. The parties seek clarity on this

issue.

             7. Joinder of Parties and Amendment of Pleadings:

         The parties believe that all parties have been joined and that there is no need to amend

pleadings. Janiskee does intend to file a motion for conditional class certification pursuant to 29

U.S.C. § 216(b).

             8. Disclosures and Exchanges:

             (a) Initial Disclosures

                     i. The parties believe that all initial disclosures have been made at this time.

             (b) Disclosure of Expert Witnesses

                     i. The City of Grand Rapids does expect to call one or more expert witness(es)

                        in this action and will probably call Paul Klimas, Martin Clason and one or

                        two yet to be identified individuals from CDW-G.

                    ii. Janiskee does expect to call one or more expert witness(es) in this action.

                   iii. The parties agree to disclose the name(s) of all expert witness(es) no later

                        than sixty (60) days before the close of discovery.

             (c) Disclosure of Expert Reports

                     i. The parties do not believe that it is necessary to exchange expert witness

                        reports at this time.

             (d) The parties have agreed to make available the following documents without the

                need of a formal request for production:

                     i. Not applicable.



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             9. Discovery:

         The parties believe that the next phase of discovery should focus on the areas the Court

found that were areas of disputed facts relative to:

             (a) The City’s position that the recorded calls were inadvertent;

             (b) Janiskee’s position that the recorded calls were intentional; and

             (c) The law enforcement exception.

         At this time, the parties agree that no deviation is necessary from the discovery rules as set

forth in the Federal Rules of Civil Procedure. Interrogatories will be limited to twenty-five (25)

per side. Depositions will be limited to ten (10) per side. The City may want to depose Lt.

Janiskee, GRPD Captain Maycroft, and other unnamed witnesses. Janiskee may want to depose

the current and/or former CDW-G, current and/or former employees of the City, and other

unnamed third parties. It is agreed that no deposition shall exceed seven hours in duration. The

parties reserve the right to move this Court to modify the number of interrogatories and depositions

allowed in the event that a motion for conditional certification pursuant to 29 U.S.C. § 216(b) is

granted.

             10. Disclosure of Discovery of Electronically Stored Information:

         The City believes that it has already produced all the documents in its’s possession relevant

to the claims in this case. The Parties are working together to determine whether an ESI protocol

is needed to manage the information.

          11. Assertion of Claims of Privilege or Work-Product Immunity After
    Production:

         In the event that an item classified as privileged or work-product is inadvertently produced,

the parties agree that the producing party shall have the immediate right to demand the immediate




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return of such information (“claw back”) and that the producing party shall identify the basis for

the privilege asserted.

             12. Motions:

         The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the moving party to

ascertain whether the motion will be opposed. All non-dispositive motions shall be accompanied

by a separately filed certificate setting forth in detail the efforts of the moving party to comply

with the obligation created by Rule 7.1(d). The following are motions contemplated by each party:

             (a) The City of Grand Rapids - Motion for Summary Judgment, pursuant to Fed. R.

                 Civ. P. 56.

             (b) Janiskee - Motion for Conditional Class Certification, pursuant to 29 U.S.C. §

                 216(b) (Counsel recognizes that this is not actually a dispositive motion) and

                 Motion for Summary Judgment, pursuant to Fed. R. Civ. P. 56).

             (c) GRPCOA – Motion for Summary Judgment, pursuant to Fed. R. Civ. P. 56.

         The parties anticipate that all dispositive motions will be filed within 60 days after the close

of discovery.

             13. Alternative Dispute Resolution:

         The parties have discussed submitting this case to alternative dispute resolution, but would

prefer to avoid the additional costs associated with the alternative dispute resolution. However,

they also agree that the best method of alternative dispute resolution for this case would be

voluntary facilitative mediation.

             14. Length of Trial:

         Counsel estimate the trial will last approximately five (5) days total, allocated as follows:

two (2) days for the City of Grand Rapids’ case and three (3) days for Janiskee’s case. Because



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of the uncertainty regarding class certification in Janiskee’s case, the length of the trial and the

involved parties is subject to change and the parties reserve the right to move for leave to modify

this or other sections of this Joint Status Report.

             15. Other:.

         The parties agree to bifurcate the matter and have a trial on the inadvertent/intent issue and

law enforcement issue prior to a trial on other matters such as damages.

         In the event that Janiskee moves for conditional certification pursuant to 29 U.S.C. § 216(b)

and that motion is granted, the dates set forth herein would need to be extended in order to allow

ample time for the putative collective members to opt-into or opt out of the lawsuit and discovery

conducted regarding the claims of opt-in Counter-Plaintiffs.


         Stipulated and Approved for Entry:

Dated: 7/9/2018

/s/ C. Christopher Newberg                                Dated: 7/9/2018
C. Christopher Newberg (P79025)
Andrew J. Rodenhouse (P73342)                             /s/ Scott E. Dwyer
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